Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 1 of 14




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                               CASE NO.:

  JAMES WATSON,

          Plaintiff,

  v.

  SEA GRILL OF CORAL GABLES, LLC
  and SEAHORSE GRILL LLC


          Defendants.
                                                                 /

                               COMPLAINT FOR INJUNCTIVE RELIEF

          Plaintiff James Watson hereby sues Defendant Sea Grill of Coral Gables, LLC and

  Defendant Seahorse Grill LLC for Injunctive Relief, attorney’s fees, litigation expenses and costs

  pursuant to Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s

  12181-12189 (“ADA”), 28 C.F.R. Part 36, et seq.

          1.      Venue lies in the Southern District of Florida pursuant to 28 U.S.C. § 1391(b) and

  Local Rule 3.1, in that the original transaction or occurrence giving rise to this cause of action

  occurred in this District.

          2.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

  original jurisdiction over actions which arise from the Defendants’ violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

          3.      Plaintiff James Watson (“Plaintiff”) is a Florida resident, lives in Miami-Dade

  County, is sui juris, and qualifies as an individual with disabilities as defined by the ADA. Plaintiff

  is legally blind and a member of a protected class under the ADA, 42 U.S.C. §§ 12102(1)-(2), the
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 2 of 14




  regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602,

  §802(h). Plaintiff is substantially limited in the major life activity of seeing. Plaintiff’s disability

  is defined in 28 C.F.R. §36.105(b)(2).

          4.      Plaintiff is legally blind. He uses the internet and a mobile device to help him

  navigate a world of goods, products and services like the sighted. He brings this action against

  Defendants for offering and maintaining a mobile website (software that is intended to run on

  mobile devises such as phones or tablet computers) that is not fully accessible and independently

  usable by visually impaired consumers. Plaintiff utilizes the Apple Screen Reader VoiceOver

  software to read computer materials and/or access and comprehend internet mobile website

  information which is specifically designed for the visually impaired.

          5.      Plaintiff is also an advocate of the rights of similarly situated disabled persons and

  is a “tester” for the purpose of asserting his civil rights and monitoring, ensuring, and determining

  whether places of public accommodation and/or their mobile websites are in compliance with the

  ADA.

          6.      There are two upscale seafood restaurants located within Miami Dade county which

  are operating under the name (brand) “Sea Grill.” Both Sea Grill (brand) restaurants are open to

  the public, therefore each is a Place of Public Accommodation subject to the requirements of Title

  III of the ADA and its implementing regulation as defined by 42 U.S.C. §12181(7)(B), §12182,

  and 28 C.F.R. §36.104(2). These Sea Grill restaurants are also referenced herein as “place(s) of

  public accommodation,” “Sea Grill restaurant(s),” or “restaurant(s).

          7.      Defendant Sea Grill of Coral Gables, LLC (also referenced as “Defendant Coral

  Gables,” “co-Defendant” or collectively with Defendant North Miami as “Defendants”) is a

  Florida limited liability company which is the owner and operator of the Sea Grill restaurant which




                                                     2
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 3 of 14




  is located in the Merrick Park shopping complex which is in Coral Gables, with the specific address

  being 4250 Salzedo Street, Suite 1425, Coral Gables, Florida 33146. Defendant Coral Gables is

  defined as a “Public Accommodation" within meaning of Title III because Defendant Coral Gables

  is a private entity which owns and/or operates “[A] restaurant, bar, or other establishment serving

  food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

         8.      Defendant Seahorse Grill LLC (also referenced as “Defendant North Miami,” “co-

  Defendant,” or collectively with Defendant Coral Gables as “Defendants”) is a Florida limited

  liability company which is the owner and operator of the second Sea Grill restaurant, which located

  within North Miami at 3913 NE 163rd Street, North Miami Beach, Florida 33160. Defendant North

  Miami is defined as a “Public Accommodation" within meaning of Title III because Defendant

  North Miami is a private entity which owns and/or operates “[A] restaurant, bar, or other

  establishment serving food or drink,” 42 U.S.C. §12181(7)(B) and 28 C.F.R. §36.104(2).

         9.      On information and belief, subsequent to the effective date of the ADA, Defendant

  North Miami and Defendant Coral Gables jointly constructed, or caused to be constructed, the

  https://seagrillmiami.com mobile website (hereinafter “mobile website”) for the general public to

  access on their mobile devices (phones, tablets). This mobile website supports, is an extension of,

  is in conjunction with, is complementary and supplemental to Defendant North Miami and

  Defendant Coral Gables’ respective Sea Grill restaurants. The mobile website delineates the goods,

  services, accommodations, privileges, benefits and facilities available to patrons at the restaurant’s

  physical locations.

         10.     The mobile website is offered by Defendants as a way for the public to become

  familiar with the Sea Grill restaurant menu selections, as well as information on hours of operation,

  the Coral Gables and North Miami restaurant locations, and provides other information Defendants




                                                    3
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 4 of 14




  seek to communicate to the public. By the provision of menu selection and information about the

  location of each Sea Grill restaurant, the mobile website is an integral part of the goods and services

  offered by Defendants. By this nexus, the mobile website is characterized as a Place of Public

  Accommodation to Title III of the ADA1, 42 U.S.C. § 12181(7)(B) and 28 C.F.R. §36.104(2).

           11.      Defendants’ mobile website allows mobile device users to use a mobile platform

  through a connection to Wi-Fi or cellular data so that users can manage their dining choice from

  their mobile device. As such, Defendants have subjected themselves to the ADA because their

  mobile website is offered as a tool to promote, advertise and sell Defendants’ products and services

  from their brick-and-mortar restaurant locations, each of which is a place of public

  accommodation. As a result, Defendants’ mobile website must interact with its restaurants and the

  public, and in doing so must comply with the ADA, which means it must not discriminate against

  individuals with disabilities and may not deny full and equal enjoyment of the goods and services

  afforded to the general public. 2

           12.      Defendants’ mobile website does not properly interact with the VoiceOver screen

  reader software technology in a manner that allows blind and visually impaired individuals to

  comprehend the mobile website and does not provide other means to accommodate blind and

  visually impaired individuals.

           13.      Plaintiff has attempted to patronize Defendants’ mobile website in the past and


  1
    “The Department of Justice has long taken the position that both State and local government Websites and the
  websites of private entities that are public accommodations are covered by the ADA. In other words, the websites of
  entities covered by both Title II and Title III of the statute are required by law to ensure that their sites are fully
  accessible to individuals with disabilities.” (See: Statement of Eve Hill Senior Counselor to the Assistant Attorney
  General for the Civil Rights Department of Justice - Before the Senate Committee on Health, Education, Labor &
  Pensions United States Senate – Concerning The Promise of Accessible Technology: Challenges and Opportunities –
  Presented on February 7, 2012.
  2
   According to Statista, almost half of web traffic in the United States originated form mobile devices in 2021.
  Therefore, Defendant knew or should have known that potential customers would be using the mobile version of its
  website and provided accessibility for blind users.


                                                            4
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 5 of 14




  intends to continue to make further attempts to patronize Defendants’ mobile website. Like the

  seeing community, he would like to be able to use Defendants’ mobile website to locate the Sea

  Grill restaurant locations, find out about the hours of operations and comprehend Sea Grill

  restaurant menu selections. However, unless Defendants are required to eliminate the access

  barriers at issue and required to change their policies so that access barriers do not reoccur, Plaintiff

  will continue to be denied full and equal access to the mobile website as described and will be

  deterred from fully using Defendants’ mobile website or dining at either of the Sea Grill restaurant

  locations located within this district.

          14.     Plaintiff has attempted to utilize Defendants’ mobile website and/or plans to

  continue to attempt to utilize the mobile website in the near future. In the alternative, Plaintiff

  intends to monitor the mobile website in the near future, as a tester, to ascertain whether it has

  been updated to interact properly with VoiceOver screen reader software.

          15.     Plaintiff is continuously aware of the violations on Defendants’ mobile website and

  is aware that it would be a futile gesture to attempt to utilize Defendants’ mobile website as long

  as those violations exist unless he is willing to suffer additional discrimination.

          16.     Defendants and alike restaurants are fully aware of the need to provide full access

  to all visitors to their mobile website as such barriers result in discriminatory and unequal treatment

  of individuals with disabilities who are visually impaired and result in punishment and isolation

  of blind and low vision individuals from the rest of society.

          17.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged herein and this action is his only means to secure adequate redress from Defendants’

  discriminatory practice.

          18.     Notice to Defendants is not required as a result of Defendants’ failure to cure the




                                                     5
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 6 of 14




  violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

  2202.

          19.    Plaintiff has been obligated to retain the civil rights law office of J. Courtney

  Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of this

  cause, including costs and expenses incurred. Plaintiff is entitled to recover those attorney’s fees,

  costs and expenses from Defendants pursuant to 42 U.S.C. §12205 and 28 CFR 36.505.

                    COUNT I – VIOLATIONS OF TITLE III OF THE ADA

          20.    The ADA requires that Public Accommodations (and Places of Public

  Accommodation) are required to ensure that communication is effective, which includes the

  provision of auxiliary aids and services for such purpose.

          21.    According to 28 C.F.R. Section 36.303(b)(1), auxiliary aids and services includes

  “voice, text, and video-based telecommunications products and systems.” 28 C.F.R. Section

  36.303(b)(2) specifically states that (VoiceOver) screen reader software is an effective method of

  making visually delivered material available to individuals who are blind or have low vision.

          22.    28 C.F.R. Section 36.303(c)(1)(ii) specifically states that public accommodations

  must furnish appropriate auxiliary aids and services where necessary to ensure effective

  communication with individuals with disabilities. “In order to be effective, auxiliary aids and

  services must be provided in accessible formats, in a timely manner, and in such a way as to protect

  the privacy and independence of the individual with a disability.”

          23.    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.




                                                   6
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 7 of 14




         24.     Defendants’ mobile website has been designed to integrate with their respective

  Sea Grill brick-and-mortar restaurants; therefore, the mobile website is an extension of

  Defendants’ respective Places of Public Accommodation. By and through their mobile website,

  Defendants have extended their respective Sea Grill restaurant locations into individual persons'

  homes and portable devices wherever located. The mobile website is a service, facility, privilege,

  advantage, benefit and accommodation of Defendants’ Places of Public Accommodation. As such,

  Defendants’ mobile website is integrated with, and is a nexus to, their brick-and-mortar locations.

  Therefore, it is governed by the following provisions:

                 a.      U.S.C. Section 12182(a) provides: “No individual shall be discriminated

  against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

  privileges, advantages, or accommodations of any place of public accommodation by any person

  who owns, leases (or leases to), or operates a place of public accommodation.”

                 b.      42 U.S.C. Section 12182(b)(1)(A)(i) provides: “It shall be discriminatory to

  subject an individual or class of individuals on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements, to a denial

  of the opportunity of the individual or class to participate in or benefit from the goods, services,

  facilities, privileges, advantages, or accommodations of an entity[.]”

                 c.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory

  to afford an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with the

  opportunity to participate in or benefit from a good, service, facility, privilege, advantage, or

  accommodation that is not equal to that afforded to other individuals[.]”

                 d.      42 U.S.C. Section 12182(b)(1)(A)(ii) provides: “It shall be discriminatory




                                                    7
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 8 of 14




  to provide an individual or class of individuals, on the basis of a disability or disabilities of such

  individual or class, directly, or through contractual, licensing, or other arrangements with a good,

  service, facility, privilege, advantage, or accommodation that is different or separate from that

  provided to other individuals, unless such action is necessary to provide the individual or class of

  individuals with a good, service, facility, privilege, advantage, or accommodation, or other

  opportunity that is as effective as that provided to others[.]”

                  e.      42 U.S.C. Section 12182(b)(1)(B) provides: “Goods, services, facilities,

  privileges, advantages, and accommodations shall be afforded to an individual with a disability in

  the most integrated setting appropriate to the needs of the individual.”

                  f.      42 U.S.C. Section 12182(b)(1)(C) provides: “Notwithstanding the existence

  of separate or different programs or activities provided in accordance with this section, an

  individual with a disability shall not be denied the opportunity to participate in such programs or

  activities that are not separate or different.”

                  g.      42 U.S.C. Section 12182(b)(2)(ii) describes as discrimination: “a failure to

  make reasonable modifications in policies, practices, or procedures, when such modifications are

  necessary to afford such goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, unless the entity can demonstrate that making such modifications

  would fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  accommodations[.]”

                  h.      42 U.S.C. Section 12182(b)(2)(iii) describes as discrimination: “a failure to

  take such steps as may be necessary to ensure that no individual with a disability is excluded,

  denied services, segregated or otherwise treated differently than other individuals because of the

  absence of auxiliary aids and services, unless the entity can demonstrate that taking such steps




                                                    8
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 9 of 14




  would fundamentally alter the nature of the good, service, facility, privilege, advantage, or

  accommodation being offered or would result in an undue burden[.]”

          25.    Plaintiff attempted to access and/or utilize Defendants’ mobile website, but was

  unable to, and he continues to be unable to enjoy full and equal access to the mobile website and/or

  understand the content therein because numerous portions of the mobile website do not interface

  with VoiceOver screen reader software. Specifically, features of the mobile website that are

  inaccessible to VoiceOver screen reader software users include, but are not limited to, the

  following (citing the WCAG 2.1 Level A and AA Guidelines):

     i.   Guideline 1.1.1 Non-Text Content is violated. The homepage carousel content is not
          accessible. VoiceOver screen reader software users hear "graphic slide 1." VoiceOver
          screen reader software users can hear that a slider with images is present, but they do not
          hear content or labels for the images.

    ii.   Guideline 1.4.5 Images of Text is violated. The site does not use images of text (so that
          VoiceOver screen reader software users are unable to comprehend). For example, when
          attempting to comprehend the content in the Merrick Park menu, VoiceOver screen reader
          software users hear "graphic" announced for each section, but none of the embedded text
          is announced. Further, none of the menu selections (or their respective prices) are
          announced to VoiceOver screen reader software users.

   iii.   Guideline 4.1.2 Name, Role, Value is violated. For example, the North Miami Menu is not
          accessible. None of the content in the menu is announced to VoiceOver screen reader
          software users. For VoiceOver screen reader software users, section labels are announced
          as "graphic dinner menu," but the content of the menu items are not announced.

          26.    As the owner and/or operator of the Sea Grill restaurant mobile website, Defendants

  are required to comply with the ADA and the provisions cited above. This includes Defendants’

  obligation to create and maintain a mobile website that is accessible to, and usable by, visually

  impaired persons so that they can enjoy full and equal access to their mobile website and the

  content therein.

          27.    With respect to their mobile website, Defendants have violated the ADA by failing

  to interface their mobile website with VoiceOver screen reader software utilized by visually



                                                   9
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 10 of 14




  impaired individuals (as specifically delineated within paragraph 25) either directly or through

  contractual, licensing or other arrangements. Defendants’ violations have resulted in their joint

  and several denial of accommodation to Plaintiff in the basis of his disability:

                 a.      by depriving Plaintiff of the full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, or accommodations of its place of public accommodation (42

  U.S.C. § 12182(a));

                 b.      in the denial of providing Plaintiff the opportunity to participate in or benefit

  from the goods, services, facilities, privileges, advantages, or accommodations (42 U.S.C. §

  12182(b)(1)(A)(i));

                 c.      in failing to afford Plaintiff the opportunity to participate in or benefit from

  a good, service, facility, privilege, advantage, or accommodation that is equal to that afforded to

  other individuals (42 U.S.C. § 12182(b)(1)(A)(ii));

                 d.      by providing Plaintiff a good, service, facility, privilege, advantage, or

  accommodation that is different or separate from that provided to other individuals (unless

  such action is necessary to provide the individual or class of individuals with a good, service,

  facility, privilege, advantage, or accommodation, or other opportunity that is as effective as that

  provided to others) (42 U.S.C. § 12182(b)(1)(A)(iii));

                 e.      by failing to afford Plaintiff goods, services, facilities, privileges,

  advantages, and accommodations in the most integrated setting appropriate to the needs of the

  disabled individual (42 U.S.C. § 12182(b)(1)(B));

                 f.      notwithstanding the existence of separate or different programs or activities

  provided in accordance with this section, by denying Plaintiff the opportunity to participate in such

  programs or activities that are not separate or different. (42 U.S.C. § 12182(b)(1)(C));




                                                    10
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 11 of 14




                 g.      by a failure to make reasonable modifications in policies, practices, or

  procedures, when such modifications are necessary to afford such goods, services, facilities,

  privileges, advantages, or accommodations to individuals with disabilities (unless the entity can

  demonstrate that making such modifications would fundamentally alter the nature of such goods,

  services, facilities, privileges, advantages, or accommodations) (42 U.S.C. § 12182(b)(2)(ii)); and,

                 h.      by a failure to take such steps as necessary to ensure that disabled

  individuals are not excluded, denied services, segregated or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services (unless the entity can demonstrate

  that taking such steps would fundamentally alter the nature of the good, service, facility, privilege,

  advantage, or accommodation being offered or would result in an undue burden) (42 U.S.C. §

  12182(b)(2)(iii)).

         28.     Plaintiff continues to attempt to utilize Defendants’ mobile website and/or plans to

  continue to attempt to utilize that mobile website.

         29.     Plaintiff is continuously aware of the violations within Defendants’ mobile website

  and is aware that it would be a futile gesture to attempt to utilize that mobile website as long as

  those violations exist unless he is willing to suffer additional discrimination.

         30.     Plaintiff has suffered (and continues to suffer) frustration and humiliation as the

  result of the discriminatory conditions present within Defendants’ mobile website. By continuing

  to operate their mobile website with discriminatory conditions, Defendants continue to contribute

  to Plaintiff's sense of isolation and segregation and to deprive Plaintiff the full and equal enjoyment

  of the goods, services, facilities, privileges and/or accommodations Defendants make available to

  the general public. By encountering the discriminatory conditions within Defendants’ mobile

  website and knowing that it would be a futile gesture to attempt to utilize the mobile website unless




                                                    11
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 12 of 14




  he is willing to endure additional discrimination, Plaintiff is deprived of the meaningful choice of

  freely visiting and utilizing the same accommodations readily available to the general public and

  is deterred and discouraged from doing so. By maintaining a mobile website with violations,

  Defendants have deprived (and continue to deprive) Plaintiff the equality of opportunity offered

  to the general public.

            31.   Plaintiff has suffered (and will continue to suffer) direct and indirect injury as a

  result of Defendants’ discrimination until they are compelled to comply with the requirements of

  the ADA and conform their mobile website to WCAG 2.1 Level A and AA Guidelines.

            32.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

  from Defendants’ non-compliance with the ADA with respect to their mobile website. Plaintiff

  has reasonable grounds to believe that he will continue to be subjected to discrimination in

  violation of the ADA by Defendants. Plaintiff desires to access the mobile website to avail himself

  of the benefits, advantages, goods and services therein, and/or to assure himself that this mobile

  website is in compliance with the ADA so that he and others similarly situated will have full and

  equal enjoyment of the mobile website without fear of discrimination.

            33.   Plaintiff is without adequate remedy at law and has suffered (and will continue to

  suffer) irreparable harm. The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein.

            34.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to require Defendants to alter their mobile website

  to make it readily accessible to and usable by Plaintiff and other persons with vision impairments.

            WHEREFORE, Plaintiff James Watson hereby demands judgment against Defendant Sea




                                                   12
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 13 of 14




  Grill of Coral Gables, LLC and Defendant Seahorse Grill LLC and requests the following

  injunctive and declaratory relief:

         a.      The Court issue a Declaratory Judgment that determines that Defendants’ mobile

                 website is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

                 § 12181 et seq.;

         b.      The Court issue a Declaratory Judgment that Defendants have violated the ADA by

                 failing to monitor and maintain its mobile website to ensure that it is readily

                 accessible to and usable by persons with vision impairment;

         c.      The Court issue an Order directing Defendants to alter their mobile website to make

                 it accessible to, and useable by, individuals with disabilities to the full extent

                 required by Title III of the ADA;

         d.      The Court issue an Order directing Defendant provide the appropriate auxiliary aids

                 such that individuals with visual impairments will be able to effectively

                 communicate with their mobile website for purposes of comprehending

                 Defendants’ mobile website, and during that time period prior to the mobile

                 website’s being designed to permit individuals with visual impairments to

                 effectively communicate, requiring Defendants to provide an alternative method

                 for individuals with visual impairments to effectively communicate so that disabled

                 individuals are not impeded from obtaining the goods and services made available

                 to the public through Defendants’ mobile website.

         e.      The Court enter an Order directing Defendants to evaluate and neutralize their

                 policies and procedures towards persons with disabilities for such reasonable time

                 so as to allow Defendants to undertake and complete corrective procedures;




                                                  13
Case 1:22-cv-20601-JEM Document 1 Entered on FLSD Docket 02/28/2022 Page 14 of 14




         f.     The Court enter an Order directing Defendants to continually update and maintain

                their mobile website to ensure that it remains fully accessible to and usable by

                visually impaired individuals;

         g.     The Court award attorney’s fees, costs and litigation expenses pursuant to 42

                U.S.C. § 12205; and,

         h.     The Court provide such other relief as the Court deems just and proper, and/or is

                allowable under Title III of the Americans with Disabilities Act.


  Dated: February 28, 2022
                                                 Respectfully submitted,

                                                 /s/ J. Courtney Cunningham
                                                 J. Courtney Cunningham, Esq.
                                                 J. COURTNEY CUNNINGHAM, PLLC
                                                 FBN: 628166
                                                 8950 SW 74th Court, Suite 2201
                                                 Miami, Florida 33156
                                                 Telephone: 305-351-2014
                                                 cc@cunninghampllc.com




                                                   14
